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UN|TED STATES DlSTRlCT COURT

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UN|TED STATES OF AMER|CA

 

'V' 2:03CR20343-03-D

CRYSTAL GREER
Howard B. Nlan_i§J CJA
Defense Attorney
80 Monroe Ave., Ste. G-1
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 58 of the indictment on l\/|arch 30, 2004.
Aocordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title a section NM offense Numberjsj
Conc|uded
18 U.S.C. § 1957 Engaging in Monetary Transactions 02/1 912002 58

from Specified Un|awfu| Activity

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Count(s) 1-2 and 56-57 are dismissed on the motion of the United States.
|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 08116/1978 |V|ay 23, 2005
Deft’s U.S. |V|arsha| No.: 19185-076

Defendant’s |V|ai|ing Address:
3879 Charleston
N!emphis, TN 38128

     

BERN|CE B. DONALD
UN|TED STATES DlSTRlCT JUDGE

Mey 3 f , 2005

Tnis document entered on the docket sheet in compliance
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PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Years.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVlSlON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered',

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofncer;

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The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notihcations and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a Hne or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal l\/lonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program fora period
of 6 Months. During this time, defendant will remain at defendant’s place of
residence except for employment and other activities approved in advance
by the Defendant’s Probation Officer. Defendant will be subject to the
standard conditions of Home Detention adopted for use in the Western
District of Tennessee, which may include the requirement to wear an
electronic monitoring device and to follow electronic monitoring procedures
specified by the Probation Officer. Further, the defendant shall be required
to contribute to the costs of services for such monitoring not to exceed an
amount determined reasonable by the Probation thcer.

2. The defendant shall participate in substance abuse testing and treatment
programs as directed by the Probation Officer; Any positive drug test shall
be referred to the Judge; The court would then impose an immediate jail

term.
3. The defendant shall obtain and maintain full-time employment
4. The defendant shall cooperate with DNA collection as directed by the

Probation Officer.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately
F|NE
No fine imposedl

REST|TUTION

No Restitution was ordered.

lsTRlCT COUR - WTERN DIsRTCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 184 in
case 2:03-CR-20343 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

Thomas A. Colthurst

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Ste. 800

Memphis7 TN 38103

HoWard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

Honorable Bernice Donald
US DlSTRlCT COURT

